      Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                      DIVISION


                                                 §
IN RE APPLICATIN OF TATIANA                      §     5-20-MC-1099-JKP-RBF
AKHMEDOVA                                        §
                                                 §
                                                 §
                                                 §
                                                 §



                          REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

To the Honorable United States District Judge Jason Pulliam:

       This Report and Recommendation concerns the Ex Parte Application For Discovery

Pursuant To 28 U.S.C. § 1782, filed by Tatiana Akhmedova. See Dkt. No. 1. The Application has

been referred for disposition pursuant to Rules CV-72 and 1 of Appendix C to the Local Rules

for the United States District Court for the Western District of Texas. See Dkt. No. 3. Authority

to enter this recommendation stems from 28 U.S.C. § 636(b)(1)(B).1 For the reasons set forth

below, it is recommended that the Application, Dkt. No. 1, be GRANTED IN PART AND

DENIED IN PART, as set forth herein.




1
  Although the District Court referred this matter for disposition, several courts have suggested
that granting relief under 28 U.S.C. § 1782(a) may be dispositive for purposes of magistrate
judge jurisdiction. See, e.g., In re Caceres, No. 1:19-mc-00405-KS-RHW, 2020 WL 2523120, at
*4 (S.D. Miss. May 18, 2020) (“Granted, an application under § 1782 is not an enumerated
dispositive pretrial matter under Section 636(b)(1)(A), but in looking at the nature of the
proceeding, a ruling on such is dispositive insofar as the proceedings in the federal district court
are concerned.”), appeal docketed, No. 20-60463 (5th Cir. Jun. 8, 2020); Phillips v. Beierwaltes,
466 F.3d 1217, 1222 (10th Cir. 2006) (questioning, without deciding, whether an application
made pursuant to 28 U.S.C. § 1782 may be referred for disposition pursuant to 28 U.S.C.
§ 636(b)(1)(A)). Accordingly, the Court will dispose of this matter by Report and
Recommendation.



                                                 1
      Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 2 of 10




                             Factual and Procedural Background

       This § 1782 Application arises out of a 2016 divorce between Applicant Tatiana

Akhmedova and her ex-husband Farkhad Akhmedov. Involved also are, as described in the

Application, Farkhad’s fraudulent attempts to evade two English money judgments issued in

December 2016 and March 2018 in Tatiana’s favor. Because the Application is filed ex parte, the

background information discussed herein is all derived from the Application. Thus, the

Application explains that to date Farkhad has failed to voluntarily satisfy any portion of the

English Judgments. Instead, Farkhad, assisted by his son Temur Akhmedov, has engaged in a

series of fraudulent transfers of his assets to various alter-ego entities—including transfer of the

megayacht the M/Y Luna, which the English Court has since declared now legally belongs to

Tatiana.

       Tatiana filed various claims within the English Family Court proceedings against

Farkhad, Temur, and the various entities. Her goal was setting aside the transfers. The

Application explains that the English Court in turn issued several freezing injunctions and

ancillary orders for disclosure against Farkhad, the entities, and Temur. Discovery in the English

proceedings, the Application explains, recently revealed that since January 2018, Temur—who

controls and manages the M/Y Luna—has systematically destroyed a wide variety of documents

in an apparent attempt to frustrate Tatiana’s attempt to collect on the judgments. Accordingly,

Tatiana applied for and was granted an order requiring Temur to deliver his electronic devices

and disclose the email addresses, cloud accounts, and mobile communications used by him since

January 1, 2013, as well as all passwords and security verifications associated with these devices

and accounts for independent forensic investigation. The English Court also ordered Temur to

cooperate with the independent forensic expert to access, decrypt, and examine the relevant data.




                                                 2
      Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 3 of 10




To date, however, the independent expert has been unable to access any of Temur’s cloud

accounts or devices using the credentials Temur provided. And Temur hasn’t provided any

assistance with the matter. He claims he doesn’t possess the back-up passcodes or devices

needed to access the devices and accounts.

       Documents recently produced by Great Circle—the entity responsible for providing email

hosting and IT services to the M/Y Luna—reveals that in February 2019, the captain of the

vessel (presumably at Farkhad and/or Temur’s direction) requested that Great Circle delete the

vessel’s mailboxes and purge the email server. Great Circle, however, has advised Tatiana that

Rackspace, Great Circle’s email hosting at the time, may have archived the deleted records.

       Accordingly, to assist Tatiana in the English Court proceedings against Temur, Tatiana

seeks a court order directing Rackspace to produce, within 14 days of service of her subpoena:

(1) all documents concerning email hosting services and/or archiving of electronic data related to

email accounts maintained by the M/Y Luna; (2) all documents concerning hosting services

and/or archiving of electronic data in connection with third party vendors Great Circle Systems

or Triton Technical with respect to the M/Y Luna; and (3) all documents concerning email

hosting services and/or archiving of electronic data for any email accounts maintained by

Farkhad or Temur, including but not limited to Farkhad@akhmedov.net, Temur@akhmedov.net,

and temur@stecapital.net. Tatiana also seeks a court order requiring Rackspace to (1) preserve

all documents and evidence “potentially relevant to the subject matter of [her] document request”

and (2) maintain the confidentiality of “the fact and content of [her] discovery requests.” Prop.

Order. To that end, Tatiana requests that the Court permit her to circumvent Rule 45’s notice

requirements such that notice of the Court’s order and any subpoena resulting from it be stayed

until after Tatiana receives the aforementioned documents. Finally, Tatiana asks that the Court




                                                3
         Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 4 of 10




retain jurisdiction over this matter “for the purpose of enforcement and assessing any

supplemental request for discovery assistance” that she may request.

                                             Analysis

          “To promote international dispute resolution and comity, § 1782 authorizes federal

district courts to issue discovery orders ancillary to proceedings in ‘foreign or international

tribunals.’” Republic of Ecuador v. Connor, 708 F.3d 651, 654 (5th Cir. 2013) (quoting 28

U.S.C. § 1782(a)). In order to obtain discovery under 28 U.S.C. § 1782(a), an applicant such as

Tatiana must demonstrate the following: (1) the applicant is an “interested person”; (2) the

discovery is “for use in a proceeding in a foreign or international tribunal”; and (3) the source of

the requested discovery “resides or is found” in the district where the application is filed. Tex.

Keystone, Inc. v. Prime Nat. Res., Inc., 694 F.3d 548, 553 (5th Cir. 2012) (quoting 28 U.S.C. §

1782).

         A district court, however, is “not required to grant a § 1782(a) discovery application

simply because it has authority to do so.” Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S.

241, 264 (2004). Accordingly, even if an applicant makes the required showing, district courts

should consider the following non-exclusive factors when evaluating a § 1782 application: (1)

whether “the person from whom discovery is sought is a participant in the foreign proceeding”;

(2) the nature and character of the foreign proceeding and the “receptivity of the foreign

government, court, or agency to federal-court judicial assistance”; (3) whether the request

“conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of a

foreign country or the United States”; and (4) whether the requests are “unduly intrusive or

burdensome.” Id. at 244-45.




                                                 4
      Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 5 of 10




       As discussed further below, Tatiana has sufficiently addressed the three required statutory

considerations as well as a majority of the discretionary factors. Some of her discovery requests,

however, are overbroad and unduly burdensome and should therefore be rejected. Tatiana has

also failed to cite any authority to support her request to circumvent Rule 45’s notice

requirements. Absent persuasive authority that adequately addresses the due process concerns

that accompany this type of request, both Farkhad or Temur should be provided notice of the

subpoena in accordance with Rule 45. Finally, the Court should decline to retain jurisdiction over

this matter until an uncertain point in the future as Tatiana requests.

       § 1782’s Statutory Considerations. Tatiana easily satisfies all three statutory

requirements. First, as a party to the underlying English proceedings, she is an “interested

person” for purposes of § 1782. See Intel, 542 U.S. at 256 (“No doubt litigants are included

among, and may be the most common example of, the ‘interested person[s]’ who may invoke §

1782.”). Tatiana also seeks the discovery “for use in” the English proceedings. Specifically, the

discovery will aid Tatiana in enforcing her foreign money judgment against Farkhad. Lastly,

Rackspace is headquartered in San Antonio and therefore “resides” or is “found” in this District.

       § 1782’s Discretionary Considerations. Section 1782’s discretionary considerations here

also merits granting the Application, albeit with a more tailored scope. First, Rackspace is not a

participant to the English proceedings and, therefore, the need for § 1782 aid is more “apparent.”

Intel, 542 U.S. at 244. This is particularly true given Temur’s failure to disclose—and in fact,

systematic deletion of—the documents in the English proceeding. Second, the nature of the

English action doesn’t implicate any factor or policy that would weigh against granting Tatiana’s

Application. Instead, English courts would likely be receptive to this Court assisting Tatiana in

enforcing its judgment that Farkhad and Temur appear to be intent on evading. Nor would




                                                  5
      Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 6 of 10




permitting the discovery conceal an attempt to circumvent English proof-gathering restrictions or

other English or domestic policies. To the contrary, granting Tatiana’s Application would assist

the English court in ensuring Temur’s disclosure and compliance with that court’s various

freezing orders. Tatiana’s request for information related to the M/Y Luna also doesn’t appear

unduly intrusive or burdensome. But the same isn’t true for Tatiana’s request for all documents

concerning email hosting services and/or archiving of electronic data for any email accounts

maintained by Farkhad or Temur. Tatiana’s request that Rackspace be ordered to preserve all

documents and evidence “potentially relevant to the subject matter of [her] document request” is

similarly overbroad.

       Tatiana hasn’t explained why she should be entitled to recover all documents concerning

email hosting services and/or archiving of electronic data for any email accounts maintained by

Farkhad or Temur irrespective of the subject matter of the document. It also shouldn’t be

Rackspace’s responsibility to search through its archive to determine what documents might be

“potentially relevant to the subject matter of [Tatiana’s] document request” and then preserve

them. Prop. Order. Instead, as the party requesting the discovery, it is Tatiana’s burden to narrow

the scope of information sought. See Fed. R. Civ. P. 26(b), 45(d)(1). Accordingly, the District

Court should reject Tatiana’s request to subpoena documents and enter a preservation order that

isn’t narrowly tailored to the English proceedings. To the extent Tatiana can craft a more tailored

request, she could perhaps submit such a request to the undersigned in a request for

reconsideration or even to the District Court in connection with an Objection to this Order. In the

latter course is chosen, the District Court could then—if it is so inclined—take up that more

narrowly tailored request. In selecting between these options, Tatiana should review the Order




                                                6
       Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 7 of 10




referring this matter to the undersigned, as it may constrain her ability to raise new issues for the

first time to the District Court.

        Maintaining Confidentiality of These Proceedings and Any Ensuing Subpoena. Tatiana

also requests that the Court excuse her from notifying Farkhad and Temur of her intent to

subpoena the information from Rackspace as otherwise required by Federal Rule of Civil

Procedure 45(a)(4). In a similar vein, Tatiana seeks to prohibit Rackspace from alerting Farkhad

and Temur of the subpoena. These requests—not uncommon in criminal investigations—make

sense here given Farkhad and Temur’s active attempts to avoid Tatiana’s judgment, including by

destroying documents relevant to fraudulent transfers. But Tatiana has failed to provide the Court

with any authority to permit her to circumvent Rule 45’s notice requirements. Cf. 18 U.S.C.

§§ 2703-2705.

        Once a district court grants a party’s § 1782 application, the Federal Rules of Civil

Procedure generally govern. See Tex. Keystone, 694 F.3d at 554. Because § 1782 provides that

“[t]o the extent that the order does not prescribe otherwise, the testimony or statement shall be

taken, and the document or other thing produced, in accordance with the Federal Rules of Civil

Procedure,” 28 U.S.C. § 1782 (emphasis added), Tatiana claims—without citing any authority—

that the Court is authorized to except her from complying with Rule 45’s notice requirement. But

Tatiana neglects to address the due process concerns inherent with this request, particularly in

light of the fact that her Application requests ex parte relief. See Gushlak v. Gushlak, 486 F.

App’x 215, 217 (2d Cir. 2012) (recognizing that “it is neither uncommon nor improper for

district courts to grant applications made pursuant to § 1782 ex parte” but in such a situation,

“[t]he respondent’s due process rights are not violated because he can later challenge any

discovery request by moving to quash pursuant to Federal Rule of Civil Procedure 45(c)(3)”).




                                                 7
       Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 8 of 10




Accordingly, absent any authority addressing the Court’s due process concerns, Tatiana’s request

to circumvent Rule 45’s notice requirements and order Rackspace to maintain the confidentiality

of the fact and content of her discovery efforts should be denied.

        Again, this topic could be revisited in further briefing, either to the undersigned in a

motion to reconsider or to the District Court in connection with Objections to this Report and

Recommendation.

        Retaining Jurisdiction. Finally, Tatiana’s request that the Court retain jurisdiction over

this matter “for the purpose of enforcement and assessing any supplemental request for discovery

assistance” should be denied. There is no basis to keep this matter open indefinitely merely to

guard against the contingency that Tatiana might require further discovery assistance at some

uncertain point in the future. To the extent Tatiana needs further discovery from Rackspace (or

any other entity or individual who resides in this District) or assistance enforcing her subpoena,

she may file a new § 1782 application or institute a new action seeking to compel enforcement of

the subpoena, see Fed. R. Civ. P. 45(d)(2)(B)(i). Any such proceeding could reference this matter

as a related case.

                               Conclusion and Recommendation

        For the reasons discussed above, it is recommended that the Application, Dkt. No. 1, be

GRANTED IN PART in that Tatiana should be authorized to issue and serve a subpoena on

Rackspace US, Inc. d/b/a Rackspace Technology for the production of the following documents:

    1) All documents in the possession and control of Rackspace concerning cloud services

        and/or archiving of information provided with respect to email accounts maintained by

        the vessel M/Y Luna, including but not limited to the following email accounts:




                                                 8
      Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 9 of 10




       captain@my-luna.com; chiefofficer@my-luna.com; chiefengineer@my-luna.com; or any

       other email address containing “@my-luna.com”; and

   2) All documents in the possession or control of Rackspace concerning cloud services

       and/or archiving of information provided in connection with Great Circle Systems or

       Triton Technical with respect to the vessel M/Y Luna.

       Rackspace should respond to Tatiana’s subpoena within 14 days after service, unless

Rackspace makes a sufficient showing that based on the nature of the request or its current

operations, the subpoena fails to provide it with a reasonable time to comply or Rackspace

otherwise provides the Court with a basis to quash or modify the subpoena. See Fed. R. Civ. P.

45(d)(3).

       Finally, to ensure that compliance with the subpoena doesn’t unfairly subject non-party

Rackspace to significant expense, see Fed. R. Civ. P. 45(c)(2)(B)(ii), Tatiana should be ordered

to meaningfully confer with Rackspace after serving the subpoena to determine whether and to

what extent she should cover the cost of Rackspace’s compliance.

       All other requests raised by the Application should be DENIED.

                Instructions for Service and Notice of Right to Object/Appeal

       The United States District Clerk shall serve a copy of this report and recommendation on

all parties by either (1) electronic transmittal to all parties represented by attorneys registered as

a “filing user” with the clerk of court, or (2) by mailing a copy by certified mail, return receipt

requested, to those not registered. Written objections to this report and recommendation must be

filed within fourteen (14) days after being served with a copy of same, unless this time period is

modified by the district court. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The objecting party

shall file the objections with the clerk of the court, and serve the objections on all other parties. A




                                                  9
        Case 5:20-mc-01099-JKP-RBF Document 4 Filed 10/30/20 Page 10 of 10




party    filing   objections   must   specifically    identify   those   findings,   conclusions,   or

recommendations to which objections are being made and the basis for such objections; the

district court need not consider frivolous, conclusory, or general objections. A party’s failure to

file written objections to the proposed findings, conclusions, and recommendations contained in

this report shall bar the party from a de novo determination by the district court. Thomas v. Arn,

474 U.S. 140, 149-52 (1985); Acuña v. Brown & Root, Inc., 200 F.3d 335, 340 (5th Cir. 2000).

Additionally, failure to timely file written objections to the proposed findings, conclusions, and

recommendations contained in this report and recommendation shall bar the aggrieved party,

except upon grounds of plain error, from attacking on appeal the unobjected-to proposed factual

findings and legal conclusions accepted by the district court. Douglass v. United Servs. Auto.

Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

         IT IS SO ORDERED.

         SIGNED this 30th day of October, 2020.




                                               RICHARD B. FARRER
                                               UNITED STATES MAGISTRATE JUDGE




                                                 10
